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                      UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

                                                                      PLACEHOLDER FOR
                                                       DVDS OF “COUNTRY MUSIC: A FILM BY
                                                                            KEN BURNS”
Wayne Nicolaison
                             Plaintiff(s)
v.                                                          Case Number: CV 21-1417 PJSECW
Nancy Johnston
                             Defendant(s)



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